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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

  STATE OF NEW JERSEY, et al.                          :
                                                       :
               Plaintiffs,
                                                       :
     v.                                                :
                                                       :
                                                                              25-cv-10139
                                                           Civil Action No.: ___________
  DONALD J. TRUMP, et al.                              :
                                                       :
               Defendants.                             :
                                                       :
                                                       :
                                                       :


                                 DECLARATION OF TOM WONG

       I, Tom Wong, hereby declare:

       1.         I am over the age of 18, competent to testify as to the matters herein, and make

this declaration based on my personal knowledge. If called to testify as a witness, I could and

would testify competently to the matters set forth below.

       2.         I am a tenured Associate Professor at the University of California, San Diego

(UCSD). I work in the Political Science Department, which U.S. News & World Report

consistently ranks as one of the top ten political science departments nationally. I first joined the

Department at UCSD in 2012 and became an Associate Professor with tenure in 2016. At UCSD,

I am the Director of the U.S. Immigration Policy Center (USIPC), which I founded in 2018, and

the Director of the Human Rights and Migration Studies Program Minor.

          3.      Prior to this, I served as an advisor to the White House Initiative on Asian

Americans and Pacific Islanders (WHIAAPI), where I co-led on the immigration portfolio,

during the 2015-2016 academic year. I received a Ph.D. in Political Science from the University

of California, Riverside in 2011.


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       4.      I am an expert on U.S. immigration policy. I have written two peer-reviewed

books and dozens of peer-reviewed journal articles, book chapters, and reports on this subject.

My most recent article represents one of the first randomized survey experiments done on a

sample of undocumented immigrants that sheds light on how local cooperation with federal

immigration enforcement officials affects the day-to-day behaviors of unauthorized immigrants.

       5.      In my work, I regularly estimate the size and the characteristics of the

unauthorized immigrant population using U.S. Census American Community Survey (ACS)

microdata. This work has been used in my academic publications, reports that I have written for

think tanks, white papers written for Congressional offices, and in sworn testimony that I have

given to the Senate Judiciary Committee on immigration-related matters. Substantively, this

work involves comparing outcomes between U.S. citizens and those without legal status, which

is the core of the analysis I present below.

       6.      I have attached a true and complete copy of my curriculum vitae as Exhibit 1 to

this Declaration, which includes a list of all of my publications over the past ten years.

       7.      I have been retained by the State of California to analyze data related to possible

impacts of denying birthright citizenship to certain children born in the United States. I share my

opinions below of how the denial of birthright citizenship will impact children who are born non-

citizens, the methodology and analysis I conducted to reach those opinions, and the data used to

demonstrate differences across multiple social and economic indicators to compare outcomes for

U.S. citizens versus non-citizens.

       8.      I understand that the federal government has taken action to deny birthright

citizenship to certain children born to undocumented parents. In my opinion, denying birthright

citizenship to children born in the U.S., but who have undocumented parents, will create a class



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of people whose societal and economic integration will be severely impaired throughout the

course of their entire lifetimes. One way to evaluate this impact is to compare outcomes between

U.S. citizens and those who live in the U.S. without legal status. Indeed, the status quo gives

U.S. citizenship to children born in the U.S., but who have undocumented parents. Denying

birthright citizenship to these children would make them unauthorized immigrants just like their

parents.

       9.      In the analysis below, I use the Warren (2014) method 1 to estimate likely

unauthorized immigrants in the 2023 American Community Survey (ACS) microdata one-year

file. 2 I then compare outcomes between U.S. citizens and those who live in the U.S. without

legal status across a range of indicators of societal and economic integration. The data show clear

patterns, wherein unauthorized immigrants do worse when compared to U.S. citizens across

these indicators of societal and economic integration. This confirms the conclusion that denying

birthright citizenship to children born in the U.S. to undocumented parents will create a class of

people who are excluded from U.S. citizenship and are thus not able to realize their full potential.

Not only would this newly created underclass of people stand to lose, but American society and

the economy would also be harmed from their lack of societal and economic integration.

Indicators of Societal and Economic Integration
       10.    Living in the U.S. without legal status means having to live with the constant fear

of deportation and the absence of work authorization. But living “in the shadows,” as

unauthorized immigrants do, affects societal and economic integration in numerous other ways.

One indicator of societal integration is whether a person is in school. Another indicator of


       1
         Warren, Robert. “Democratizing data about unauthorized residents in the United States:
Estimates and public-use data, 2010 to 2013.” Journal on Migration and Human Security 2, no.
4 (2014): 305-328.
       2
         This represents the most recently available ACS microdata.
                                                                                                     3
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societal integration is educational attainment. These two indicators speak to human capital,

wherein more people who are in school and more educational attainment mean more human

capital accrues to society. Indicators of economic integration are whether a person is employed,

income, and poverty. These three indicators speak to economic contributions, wherein higher

employment, higher income, and lower poverty, mean higher economic contributions. I discuss

each indicator and differences between U.S. citizens and unauthorized immigrants below.

       11.     School. Regarding whether a person is in school, the data show clearly that U.S.

citizens are significantly more likely to be in school when compared to likely unauthorized

immigrants. For example, for U.S. citizens between the ages of eighteen and twenty-four, 48.2

percent are in school. For likely unauthorized immigrants between the ages of eighteen and

twenty-four, only 26.4 percent are in school. This 21.8 percent difference is highly statistically

significant. As Table 1 shows, not only are U.S. citizens significantly more likely to be in school

when compared to likely unauthorized immigrants, but this pattern holds across all age groups.

                                              Table 1

          Age Group                % In School – U.S. Citizen          % In School – Likely
                                                                      Unauthorized Immigrant
             18-24                             48.2%                          26.4%

             25-34                             10.2%                             4.6%

             35-44                             5.1%                              2.3%

             45-54                             3.0%                              1.6%

             55-64                             1.5%                              1.0%

              65+                              0.7%                              0.5%




                                                                                                     4
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       12.     Educational Attainment. In terms of educational attainment, I analyze

differences between U.S. citizens and likely unauthorized immigrants when it comes to whether

a person has a high-school diploma. The data show clearly that U.S. citizens are significantly

more likely to have a high-school diploma when compared to likely unauthorized immigrants.

For example, for U.S. citizens between the ages of eighteen and twenty-four, 77.5 percent have a

high-school diploma. For likely unauthorized immigrants between the ages of eighteen and

twenty-four, only 59.6 percent have a high-school diploma. This 17.9 percent difference is

highly statistically significant. As Table 2 shows, not only are U.S. citizens significantly more

likely to have a high-school diploma when compared to likely unauthorized immigrants, but this

pattern also holds across all age groups. The gap between the percentage of U.S. citizens who

have a high-school diploma and the percentage of likely unauthorized immigrants who have a

high-school diploma is widest at the sixty-five an older age group. More specifically, for U.S.

citizens who are sixty-five or older, 73.7 percent have a high-school diploma. For likely

unauthorized immigrants who are sixty-five or older, only 29.7 percent have a high-school

diploma. This 44.0 percent difference is highly statistically significant.

                                              Table 2

          Age Group                 % High-School Diploma –           % High-School Diploma –
                                            U.S. Citizen                 Likely Unauthorized
                                                                             Immigrant
             18-24                             77.5%                            59.6%
             25-34                             81.3%                            55.0%
             35-44                             76.5%                            43.7%
             45-54                             75.6%                            38.0%
             55-64                             75.8%                            38.9%
              65+                              73.7%                            29.7%

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       13.     Employment. When it comes to employment, employment rates are largely

similar when comparing U.S. citizens to likely unauthorized immigrants. Table 3 shows

employment rates for those who are in the labor force for U.S. citizens and likely unauthorized

immigrants by age group.



                                             Table 3

          Age Group               % Employed – U.S. Citizen           % Employed – Likely
                                                                     Unauthorized Immigrant
             18-24                            91.1%                          92.2%

             25-34                            95.7%                            96.6%

             35-44                            96.5%                            96.8%

             45-54                            97.0%                            96.9%

             55-64                            97.3%                            96.5%

              65+                             97.3%                            96.6%



       14.     Annual Total Income. Despite similar employment rates, income varies

significantly between U.S. citizens and likely unauthorized immigrants, which demonstrates the

gap in earning potential for unauthorized workers. This makes vivid the “undocumented penalty”

that comes with living in the U.S. without legal status. Regarding annual total income, the data

show clearly that U.S. citizens earn significantly more annual total income when compared to

likely unauthorized immigrants. For example, for U.S. citizens between the ages of eighteen and

twenty-four, average annual total income is $24,899.43. For likely unauthorized immigrants

between the ages of eighteen and twenty-four, average annual total income is $23,857.68. This

$1,041.75 difference is highly statistically significant. Despite annual total income being higher

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for likely unauthorized immigrants between the ages of twenty-five and thirty-four when

compared to U.S. citizens between the ages of twenty-five and thirty-four, the income

disadvantage for unauthorized immigrants grows and becomes more significant over time. For

U.S. citizens between the ages of thirty-five and forty-four, average annual total income is

$69,623.08. For likely unauthorized immigrants between the ages of thirty-five and forty-four,

average annual total income is $63,236.55. This $6,386.53 difference is highly statistically

significant. Between the ages of forty-five and fifty-four, the income disadvantage for

unauthorized immigrants is at its widest. For U.S. citizens between the ages of forty-five and

fifty-four, average annual total income is $75,845.63. For likely unauthorized immigrants

between the ages of forty-five and fifty-four, average annual total income is $52,534.81. This

$23,310.82 difference is highly statistically significant. As Table 4 shows, the income

disadvantage for unauthorized immigrants persists for the rest of their working lifetimes.



                                             Table 4

          Age Group               Annual Total Income – U.S.          Annual Total Income –
                                           Citizen                     Likely Unauthorized
                                                                            Immigrant
             18-24                         $24,899.43                       $23,857.68

             25-34                         $50,902.85                        $55,784.47

             35-44                         $69,623.08                        $63,236.55

             45-54                         $75,845.63                        $52,534.81

             55-64                         $65,276.56                        $45,249.78

              65+                          $48,638.26                        $29,591.35




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        15.     Poverty. Lastly, the data show clearly that poverty is more pronounced among

likely unauthorized immigrants when compared to U.S. citizens. For example, whereas 15.6

percent of U.S. citizens between the ages of eighteen and twenty-four live at or below the federal

poverty line, the commensurate percentage for likely unauthorized immigrants between the ages

of eighteen and twenty-four is 18.0 percent. This 2.4 percent difference is highly statistically

significant. As Table 5 shows, the poverty disadvantage for unauthorized immigrants persists

across all age groups except for likely unauthorized immigrants between the ages of fifty-five

and sixty-four. As Table 5 also shows, the poverty disadvantage for unauthorized immigrants is

widest for unauthorized immigrants sixty-five years and older. Whereas 10.4 percent of U.S.

citizens sixty-five years and older live at or below the federal poverty line, the commensurate

percentage for likely unauthorized immigrants sixty-five years and older is 15.9 percent. This 5.4

percent difference is highly statistically significant.

                                                Table 5

           Age Group                  % Poverty – U.S. Citizen          % Poverty – Likely
                                                                      Unauthorized Immigrant
              18-24                             15.6%                         18.0%

              25-34                              8.5%                            9.9%

              35-44                              8.1%                           10.5%

              45-54                              7.3%                            8.2%

              55-64                              9.5%                            7.7%

               65+                              10.4%                           15.9%




                                                                                                   8
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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed this 20th day of January, 2025, in Belize.




                                             Dr. Tom K. Wong




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                                                                                                              Wong: CV (1/2024)




                                                TOM K. WONG, PH.D.
                                    Email: tomkwong@ucsd.edu | Cell: (951) 907-9989



APPOINTMENTS
2019 -           DIRECTOR, U.S. IMMIGRATION POLICY CENTER (USIPC)
                 University of California, San Diego

2018 - 2021      APPOINTED MEMBER (GUBERNATORIAL APPOINTMENT)
                 STATE OF CALIFORNIA CENSUS COMPLETE COUNT COMMITTEE

2017 -           ASSOCIATE PROFESSOR (W/TENURE), POLITICAL SCIENCE
                 University of California, San Diego

2016             ADVISOR, IMMIGRATION PORTFOLIO
                 WHITE HOUSE INITIATIVE ON ASIAN AMERICANS AND PACIFIC ISLANDERS

2016 -           SENIOR FELLOW
                 CENTER FOR AMERICAN PROGRESS

2013 -           DIRECTOR, INTERNATIONAL MIGRATION STUDIES PROGRAM MINOR
                 CO-DIRECTOR, HUMAN RIGHTS AND MIGRATION PROGRAM MINOR
                 University of California, San Diego

2012 - 2017      ASSISTANT PROFESSOR, POLITICAL SCIENCE
                 University of California, San Diego

EDUCATION
2011             PH.D. IN POLITICAL SCIENCE
                 University of California, Riverside

2005             B.A. IN POLITICAL SCIENCE
                 University of California, Riverside
                 Magna Cum Laude

BOOKS
(2) Tom K. Wong. 2017. The Politics of Immigration: Partisanship, Changing Demographics, and American National Identity.
       Oxford University Press.
       NPR, ABC News/Yahoo.com, LA Times, Univision, Monkey Cage

(1) Tom K. Wong. 2015. Rights, Deportation, and Detention in the Age of Immigration Control. Stanford University Press.




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(11) Tom K. Wong and Karina Shklyan. 2024. “The Impact of Interior Immigration Enforcement on the Day-to-Day
       Behaviors of Undocumented Immigrants,” Journal of Race, Ethnicity, and Politics. [Research Design: TKW;
       Analysis: TKW; Literature Review: TKW, KS]

(10) Tom K. Wong, Andrea Silva, and Karina Shklyan. 2022. “The Effect of Intergovernmental Policy Conflict on
       Immigrants’ Behavior: Evidence from a Survey Experiment in California,” Publius vol. 52 no. 1: 107-132.
       [Research Design: TKW; Analysis: TKW; Literature Review: TKW, AS, KS]

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(8) Justin Gest, Ian M. Keysil, and Tom K. Wong. 2019. “Protecting and Benchmarking Migrants’ Rights: An Analysis
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(5) Tom K. Wong and Angela Garcia. 2016. “Does Where I Live Affect Whether I Apply? The Contextual
       Determinants of Applying for Deferred Action for Childhood Arrivals (DACA),” International Migration Review
       vol. 50 no. 3: 699-727. [Research Design: TKW; Analysis: TKW; Literature Review: TKW, AG]
       C-Span, Associated Press

(4) Tom K. Wong, Donald Kerwin, Jeanne M. Atkinson, and Mary Meg McCarthy. 2014. “Paths to Lawful
       Immigration Status: Results and Implications from the PERSON Survey,” Journal of Migration and Human
       Security vol. 2 no 4: 287-304. [Research Design: TKW; Analysis: TKW; Literature Review: TKW, DW, JMA,
       MMM]
       NBC News.com

(3) Tom K. Wong. 2014. “The Politics of Interior Immigration Enforcement,” California Journal of Politics and Policy vol.
       6 no 3: 381-399.

(2) Tom K. Wong and Justin Gest. 2013. “Organizing Disorder: Indexing Migrants’ Rights and International
       Migration Policy,” Georgetown Immigration Law Journal vol. 28 no 1: 257-269. [Equal contributions from all
       authors]

(1) Tom K. Wong. 2012. “The Politics of Interior Immigration Control in the United States: Explaining Local
       Cooperation with Federal Immigration Authorities,” Journal of Ethnic and Migration Studies vol. 38 no. 5: 737-
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POLICY REPORTS
(23) Tom K. Wong. 2024. Expanded Legal Pathways to Enter the U.S. Reduce Irregular Migration. Washington D.C.: Center
       for American Progress.

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       U.S. Immigration Policy Center (USIPC) at UC San Diego.

(21) Tom K. Wong, Maya Lu, and Lily Amirjavadi. 2022. New American Voters 2022: Harnessing the Power of Naturalized
       Citizens. Chicago, IL and La Jolla, CA: National Partnership for New Americans (NPNA) and U.S.
       Immigration Policy Center (USIPC) at UC San Diego. [Research Design: TKW; Analysis: TKW, ML, LA;
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       Washington, D.C.: Center for American Progress. [Research Design: TKW; Analysis: TKW; Literature
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       Diego. [Research Design: TKW; Analysis: TKW; Literature Review: TKW, JC]

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       Immigration. La Jolla, CA: U.S. Immigration Policy Center (USIPC) at UC San Diego. [Research Design: TKW;
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(10) Tom K. Wong, et al. 2019. Fractured Federalism: How Dissonant Immigration Enforcement Policies Affect Undocumented
       Immigrants. La Jolla, CA: U.S. Immigration Policy Center (USIPC) at UC San Diego. [Research Design: TKW;
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(1) Karthick Ramakrishnan and Tom K. Wong. 2010. “Partisanship, Not Spanish: Explaining Municipal Ordinances
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WORKS UNDER REVIEW/IN PROGRESS (SELECTED LIST)
(Book Project) DACA: Undocumented Youth and the Politics of Immigrant Illegality
       This project leverages nearly a decade of surveying DACA recipients about their economic,
       societal, and civic integration. These surveys span the Obama, Trump, and Biden administrations, and
       include both the periods before and after the rescission of DACA. NPR, CNN, Washington Post, New York
       Times, NBC News, CNBC, Atlantic, Vox, Forbes, 538, Politifact, WNYC, C-Span, Associated Press

(Book Project) The Impact of Immigration Enforcement on Undocumented Immigrants.
       This project draws from a first-of-its-kind probability-based survey of undocumented immigrants. This
       project includes several survey experiments that uncover how the day-to-day behaviors of undocumented
       immigrants, as well as the trust that they have in public institutions, is affected by differential levels of local
       law enforcement cooperation with federal immigration enforcement officials. Washington Post, NPR, KPBS,
       USA Today, City Lab, Chicago Tribune, Factcheck.org

(Book Project) Tom K. Wong. “Immigration, White Nationalism, and the Great Replacement Theory: Who Believes,
       Why do They Believe, and What Can be Done.”
       The Great Replacement Theory is a conspiracy theory subscribed to be White nationalists that states that
       immigration is being used to replace the native-born White population in the U.S. with people of color (i.e.,
       “White genocide”). Previously relegated to the fringes of American society,
       the Great Replacement Theory has emerged as a serious threat to pluralistic values, as recent mass shootings
       wherein shooters have left manifestos espousing the Great Replacement Theory have made clear. News
       media and other polling suggest that as many as one-third of Republicans (Washington Post) or one-half of
       native-born White Americans (SPLC) believe in some variant of the Great Replacement Theory. This book
       project examines the determinants of belief in the Great Replacement Theory, explores why individuals
       believe that immigration is being weaponized to replace native-born Whites, the extent to which those who
       believe are willing to resort to political violence, and what can be done to stop this.

RESEARCH GRANTS (AS FACULTY MEMBER)
x   $800,000, Coulter Foundation, “U.S. Immigration Policy Center,” 2021-2024
x   $150,000, Private Donor, “U.S. Immigration Policy Center,” 2021-2023
x   $820,000, Multiple Funders, “U.S. Immigration Policy Center,” 2019-2021
x   $341,127, Multiple Funders, “U.S. Immigration Policy in the 21st Century,” 2017-2019
x   $22,500, UCSD USMEX Fellowship, 2016-2017
x   $16,000, UCLA Institute for Research on Labor and Employment, 2015-2016
x   $365,000, MacArthur Foundation, 2015-2017 (partially awarded, terminated after the DAPA program was enjoined by
    the U.S. Supreme Court)
x   $25,000, UCSD Frontiers of Innovation Scholars Program Grant, 2015-2016
x   $15,000, UCSD Faculty Career Development Program Grant, 2014-2015
x   $30,000, Unbound Philanthropy, 2014
x   $100,000, U.S. Department of Homeland Security (DACA), 2013
x   $30,000, Center for American Progress, 2013
x   $10,000, UCSD Center for International, Comparative, and Area Studies Grant, 2013
x   $10,000, UCSD Academic Senate, 2013
x   $1,500, UCSD Diversity, Equity, and Inclusion Grant, 2013




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TEACHING AT UCSD
x   Diversity, Equity, and Inclusion Teaching Award, 2014-2015
x   The Politics of Immigration (upper-division, 280 students)
x   International Human Rights Law: Rights of Migrants (upper-division, 200 students)
x   The Politics of Multiculturalism (upper-division, 100 students)
x   Immigration Politics and Policy (graduate seminar, 4 students)
x   Undergraduate Honors Seminar (upper-division, 15 students)

INVITED PRESENTATIONS — (LAST UPDATED 6/2018)
2018 |          “Surveying Undocumented Immigrants.” UC Berkeley, June 12, 2018.

                “The Integration of DACA Recipients.” Scripps College, May 3, 2018.

                “The Impact of the Trump Administration’s Immigration Policies on Undocumented Immigrants:
                Evidence from Survey Experiments.” Race, Ethnicity, and Politics Workshop, Northwestern
                University, April 13, 2018.

                “Immigrant Political Incorporation.” UC Migration Conference, UCSD, March 2, 2018.

                “The Future of DACA.” Columbia University, February 22, 2018.

                “Immigration and DACA in the Age of Uncertainty, Middlebury College, February 20, 2018.

2017 |          “The Future of U.S. Immigration Policy in the Age of Trump.” Citizenship and Equality Colloquium,
                University of Colorado, November 16, 2017.

                “The Determinants and Effects of Sanctuary Policies.” Cornell University, November 9-10, 2017.

                “The Determinants and Effects of Sanctuary Policies.” Presentation at the 2017 APPAM Fall
                Research Conference, Chicago, IL, November 2-4, 2017.

                “Immigration and the U.S. Constitution.” Seminar at the Robert H. Smith Center for the
                Constitution at James Madison’s Montpelier, Orange, VA, July 31-August 2, 2017.

                “The Determinants of U.S. Immigration Policy.” University of California, Santa Barbara, June 1,
                2017.

                “Paths to Legal Status for Undocumented Immigrants.” Presentation at the CLINIC annual
                conference, Atlanta, GA, May 25, 2017.

                “The Effects of Sanctuary Policies on Crime and the Economy.” Presentation at the Sanctuary Cities
                Convening, New York City Council, New York, NY, March 27-28, 2017.

                “The Future of U.S. Immigration Policy in the Age of Trump.” Yankelovich Center for Social
                Science Research, University of California, San Diego, March 15, 2017.

                “Child Migration.” World Migration Report workshop, International Organization for Migration
                (IOM) Geneva, Switzerland, March 9-10, 2017.


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             “The Politics of Immigration.” American Academy of Arts and Sciences, San Diego Program
             Committee, University of California, San Diego, February 9, 2017.

2016 |       “Post-Election Panel.” Center for Comparative Immigration Studies (CCIS), University of California,
             San Diego, November 21, 2016.

             “Mobilizing Immigrant Communities in the Age of Trump.” Tulane University, October 14, 2016.

             “Immigrant Integration and the Obama Administration: DACA, DAPA, and Implications for the
             2016 Presidential Election.” Institute for Research on Labor and Employment, UCLA, April 28,
             2016.

             “Mobilizing Low-Propensity Voters of Color: Towards an Electorate That Reflects a Changing
             America.” Presentation at the Asian Americans Advancing Justice conference, Los Angeles, CA,
             March 31, 2016.

             “Immigrants in American Society.” Presentation at KPBS, San Diego, CA, March 21, 2016.

             “Immigration Policy.” Presentation to Mi Familia Vota, Riverside, CA, January 14, 2016.

2015 |       “The European Refugee Crisis.” Center for Comparative Immigration Studies (CCIS), the European
             Studies Program, the Lifelong Learning Program of the EU, and the Scholars Strategy Network
             (SSN), University of California, San Diego, October 27, 2015.

             “U.S. Immigration Politics and the 2016 Presidential Election.” Presentation at the Wilson Center,
             Washington DC, October 26, 2015.

             “The Political Incorporation of Undocumented Youth.” Presentation at the “Challenging Borders”
             conference, University of California, Riverside, October 23, 2015.

             “The Consequences of Inequality: Why Does it Matter and How.” Symposium on Capital in the 21st
             Century with Thomas Piketty, University of California, San Diego, October 22, 2015.

             “U.S. Immigration Politics and Policy.” Presentation at the U.S. Consulate in Tijuana, October 13,
             2015.

             “UC National Summit on Undocumented Students.” University of California Office of the President,
             May 7-8, 2015.

             “Irregular Migration.” Presentation at the “Politics and Policies of International Migration: Europe
             and the U.S.” conference, Université Libre de Bruxelles, Belgium, April 28-29, 2015.

             “Opportunities and Limits of the Executive Actions Proposed by President Obama.” Presentation at
             the Mexican Ministry of Foreign Affairs, Mexico City, Mexico, April 13-14, 2015.

             “Administrative Relief Implementation and Impact Project.” Presentation at the Center for
             Migration Studies (CMS), New York, NY, March 25, 2015.

             “Research Roundtable.” Presentation at the “Ready America: Implementing Immigration Action”
             conference, Washington DC, February 9-11, 2015.



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2014 |           “Insights from Implementing DACA for Administrative Relief.” Presentation at the National
                 Immigrant Integration Conference, Los Angeles, CA, December 16, 2014.

                 “Deferred Action for Childhood Arrivals.” American Immigration Council (AIC), Washington, D.C.,
                 November 7, 2014.

                 “Immigration Policy and the November 2014 Midterm Elections.” California Immigrant Policy
                 Center (CIPC), October 29, 2014.

                 “The Many Paths to Legal Status: Results and Implications from the PERSON Survey.” Presentation
                 to the Center for Migration Studies (CMS), New York, NY, September 29, 2014.

                 “The Congressional Politics of Interior Immigration Enforcement.” Presentation at the “Migration
                 During Economic Downturns” workshop, German Historical Institute, Washington, DC, April 4-5,
                 2014.

                 “Mapping DACA Renewals.” Presentation to U.S. Citizenship and Immigration Services (USCIS),
                 March 13, 2014.

                 “Latino Politics: Left, Right, or Down the Middle?” Presentation at the Hispanic Radio annual
                 conference, San Diego, CA, March 10, 2014.

2013 |           “Undocumented No More: A Nationwide Analysis of Deferred Action for Childhood Arrivals.”
                 Center for Comparative Immigration Studies (CCIS), University of California, San Diego, October 2,
                 2013.

                 “DACA Turns 1.” Presentation at the Center for American Progress, Washington, DC, August 15,
                 2013. [Televised on CSPAN]

                 “The Prospects for Comprehensive Immigration Reform.” Presentation at the Mexican Ministry of
                 Foreign Affairs, Mexico City, Mexico, August 12, 2013.

                 “A Look at the Stats: How Will Congressional Representatives Vote on Comprehensive Immigration
                 Reform?” Presentation at the “Changing Face of America” conference, University of California,
                 Berkeley, May 3, 2013.

                 “Will Comprehensive Immigration Reform Pass? Predicting Legislative Support and Opposition to
                 CIR.” Center for Comparative Immigration Studies (CCIS), Univeristy of California, San Diego,
                 April 29, 2013.

                 “Race, Ethnicity, the 2012 Elections, and the Politics of Comprehensive Immigration Reform.”
                 Presentation at the Beyond the Headlines speaker series, UCLA, February 26, 2013.

                 “International Migrants Bill of Rights (IMBR) Initiative.” Georgetown Law School, Washington, DC,
                 February 8-9, 2013.

PROFESSIONAL ACTIVITIES
x   Reviewer: American Journal of Political Science, American Political Science Review, American Politics Research, American
    Sociological Review, British Journal of Political Science, Citizenship Studies, Du Bois Review, International Migration,
    International Migration Review, International Studies Quarterly, Journal of Ethnic & Migration Studies, Journal of Peace
    Research, Journal of Politics, Journal of Race, Ethnicity, and Politics, Law & Social Inquiry, Migration Studies, National

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    Science Foundation, Oxford University Press, Perspectives on Politics, Politics, Groups, and Identities, Political Research
    Quarterly, Proceedings of the National Academies of Sciences, Russell Sage Foundation, Social Identities, Social Problems
x   Advisory Board, Center for Comparative Immigration Studies (CCIS), 2012-2018
x   Advisory Board, Integrated Voter Engagement study, 2016
x   Advisory Board, Unbound Philanthropy, 2015-2017
x   APSA, Executive Committee, Migration and Citizenship Section, Treasurer, 2012-2015
x   APSA, Migration and Citizenship Section Program Co-Chair, 2018
x   Editorial Board, Journal of Ethnic and Migration Studies (JEMS), 2024-2028
x   Editorial Board, Journal of Migration and Human Security (JMHS), 2014-present
x   Editorial Board, Politics, Groups, and Identities (PGI), 2016-present
x   Editorial Board, Polity, 2016-present
x   Editorial Search Committee, Perspectives on Politics Editor-in-Chief search committee, 2022-2023
x   Executive Committee, Center for Comparative Immigration Studies (CCIS), 2015-2018
x   MPSA, International Relations and Domestic Politics Section Program Chair, 2016
x   WPSA, (Im)Migration and Citizenship Section Program Chair, 2015, 2017
x   WPSA, Dissertation award committee, 2016

PUBLIC SCHOLARSHIP
Wong is one of the country’s top experts on immigration politics and policy. Wong and his work have been
covered by The New York Times, The Los Angeles Times, The Washington Post, NPR and major media outlets across the
country in hundreds of articles. A sample can be found here: https://usipc.ucsd.edu/media/index.html




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